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       In the United States Court of Federal Claims
                                       No. 08-842C
                                  Filed: August 21, 2009


*     *       *     *      *      *      *        *    *

EDWARD DON ALVERSON, DELIA E. BANCHS,    *
RODERICK W. CHANDLER, DAVID BYRON
GOODRICH, CAROLINE FAYE HOELSCHER-KOSEL, *
VICKI LYNN MAXWELL, DANIEL ODELL REED,
ERNEST FRANCS RAIKOWSKI, AND FRANK       *                    Equal Pay Act, 29 U.S.C. §
W. STRANSKY,                                                  206(d); gender-based wage
                                         *                    discrimination; “within the
           Plaintiffs,                                        class of plaintiffs entitled to
                                         *                    recover under the money-
           v.                                                 mandating source”; gender-
                                         *                    mixed class.
UNITED STATES OF AMERICA,
                                          *
           Defendant.
                                         *

*     *       *     *      *      *      *        *    *


Royce Cullar, Washington, DC for plaintiff.

Douglas Edelschick, Trial Attorney, Department of Justice, Commercial Litigation
Branch, Civil Division; Patricia McCarthy, Assistant Director; Jeanne Davidson,
Director; Michael Hertz, Acting Assistant Attorney General for defendant. Janet
Harford, Department of Veterans Affairs, of counsel.

                                       OPINION
HODGES, Judge.

      Plaintiffs are a group of predominantly and historically male physician assistants
who are paid at a rate lower than predominantly and historically female nurse




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practitioners at the Department of Veterans Affairs in Central Texas.1 They filed suit
against the United States alleging gender discrimination under the Equal Pay Act, 29
U.S.C. § 206(d) (2006). Plaintiffs seek lost wages and other damages and relief.

       The Government filed a motion to dismiss plaintiffs’ allegations for lack of subject
matter jurisdiction or, in the alternative, for summary judgment. Plaintiffs have
established prima facie elements of an Equal Pay Act claim, however. We deny
defendant’s motion.

                                         BACKGROUND

       Physician assistants and nurse practitioners have substantially equal duties at the
VA in Central Texas, and the jobs involve similar skill, effort, and responsibility. The
positions are referred to by the Department of Veterans Affairs as “physician extenders”;
when a position for physician extender is open, the VA advertises that it may be filled by
a nurse practitioner or a physician assistant.

      Six men and three women physician assistants are named plaintiffs in this case.
For purposes of this motion, we accept plaintiffs’ contention that physician assistants, the
lower-paid category of physician extenders, is eighty percent male and twenty percent
female; the higher-paid category of nurse practitioners is ten percent male and ninety
percent female.

                                           DISCUSSION

                                  A. Subject Matter Jurisdiction

         This court has “jurisdiction to render judgment upon any claim against the United
States founded either upon the Constitution, or any Act of Congress or any regulation of
an executive department, or upon any express or implied contract with the United States .
. . not sounding in tort.” 28 U.S.C. § 1491(a)(1) (2006). To survive a challenge to
jurisdiction in this court, plaintiffs must show that their “claim is founded upon a money-
mandating source and [they have] made a nonfrivolous allegation that [they are] within
the class of plaintiffs entitled to recover under the money-mandating source.” Jan’s
Helicopter Serv., Inc. v. Fed. Aviation Admin., 525 F.3d 1299, 1309 (Fed. Cir. 2007).
The Equal Pay Act is such a statute. Mansfield v. United States, 71 Fed. Cl. 687, 692
(2006)

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           We accept the allegations of plaintiffs’ Complaint as true for the purposes of this
motion.

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       Congress enacted the Equal Pay Act in 1963 to prevent gender-based wage
discrimination. The Act states,

       [n]o employer . . . shall discriminate, . . . between employees on the basis of
       sex by paying wages . . . at a rate less than the rate at which he pays wages
       to employees of the opposite sex . . . for equal work on jobs the
       performance of which requires equal skill, effort, and responsibility, and
       which are performed under similar working conditions, except where such
       payment is made pursuant to . . . (iii) a system which measures earnings by
       quantity or quality of production; or (iv) a differential based on any other
       factor other than sex.

29 U.S.C. § 206(d)(1).

       Defendant argues that the Equal Pay Act does not apply because physician
assistants and nurse practitioners include men and women. Because plaintiffs’ group of
physician assistants is gender-mixed, they are not “within the class of plaintiffs entitled to
recover” under the Equal Pay Act. Def.’s Mot. to Dismiss 6 (citing Jan’s Helicopter, 525
F.3d at 1309).

        This court recently addressed defendant’s argument and concluded that gender
composition of plaintiffs in an Equal Pay Act case should be viewed as a merits issue
rather than as a jurisdictional issue. Yant v. United States, 85 Fed. Cl. 264, 269-70
(2009). Plaintiffs’ Complaint alleges discrimination against a group composed of eighty
percent male physician assistants, in favor of a higher-paid group that is ninety percent
female. We agree with the Yant holding. Plaintiffs claims are not frivolous. See Jan’s
Helicopter, 525 F.3d at 1309 (“Because appellants’ complaints contain nonfrivolous
allegations that they fall within a protected class under the Fifth Amendment, the Court of
Federal Claims has jurisdiction to consider those complaints under the Tucker Act.”);
Yant, 85 Fed. Cl. at 269-70.

                                   B. Summary Judgment

       We grant a motion for summary judgment if “the pleadings, the discovery and
disclosure materials on file, and any affidavits show that there is no genuine issue as to
any material fact and that the movant is entitled to judgment as a matter of law.” RCFC
56(c). The moving party has the burden to show “an absence of evidence to support the
nonmoving party’s case.” Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986). We view
allegations of the Complaint in a light most favorable to plaintiffs for purposes of this
motion. O’Connor v. United States, 308 F.3d 1233, 1240 (Fed. Cir. 2002). After the

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moving party has met its burden, the non-movant “must proffer countering evidence
sufficient to create a genuine issue of factual dispute.” Sweats Fashions, Inc. v. Pannill
Knitting Co., 833 F.2d 1560, 1562 (Fed. Cir. 1987).

       Plaintiffs must “show that an employer pays different wages to employees of
opposite sexes for equal work on jobs . . . [that] require equal skill, effort, and
responsibility, and which are performed under similar working conditions.” Corning
Glass Works v. Brennan, 417 U.S. 188, 195 (1974). A showing of discriminatory intent is
not necessary to establish a prima facie case under the Act. Peters v. City of Shreveport,
818 F.2d 1148, 1153 (5th Cir. 1987), abrogated on other grounds, Price Waterhouse v.
Hopkins, 490 U.S. 228 (1989). Defendant has the burden of proof to show that the pay
“differential is justified under one of the Act’s four exceptions.” Corning Glass Works,
417 U.S. at 196.

        Defendant relies on its contention that the Equal Pay Act does not apply where the
two groups being compared contain men and women. Indeed, legislative history shows
that “[d]ifferences in pay between groups or categories of employees that contain both
men and women within the group or category are not covered by this act.” Rep. Goodell,
109 Cong. Rec. 9209 (1963). The Supreme Court rejected that notion, however, stating
that Congress did not intend “[t]o permit [a] company to escape that [equal pay]
obligation by agreeing to allow some women to work [in the male dominated position] at
a higher rate of pay as vacancies occurred . . . .” Corning Glass Works, 417 U.S. at 208.
The Supreme Court was concerned with the possibility of businesses engaging in token
hiring to avoid a cause of action under the Equal Pay Act. Id.; Beck-Wilson v. Principi,
441 F.3d 353, 362 (6th Cir. 2006) (holding, “[t]he fact that a small minority of the . . .
PAs are female and a small minority of NPs are male is not fatal to plaintiffs’ EPA
claims.”); see also Peters, 818 F.2d at 1164.

       A court must determine for itself whether a group is too gender-mixed to qualify
for an Equal Pay Act claim. See Hofmister v. Miss. State Dep’t of Health, 53 F. Supp. 2d
884, 892 (S.D. Miss. 1999) (“[A]fter a certain indefinable point, the integration within
each of the classes compared becomes such that any wage differential is clearly based on
a factor other than sex.”) The point at which a group’s gender diversity precludes it from
recovering under the Act is a question of fact. Yant, 85 Fed. Cl. at 268.

       The numbers in this case are not so clearly gender-mixed that recovery under the
Act must be precluded as a matter of law. In Yant, the higher-paid category contained
forty percent of the minority gender; here, the higher-paid category contains only ten
percent of the minority gender. Percentages in the lower-paid category in this case are
similar to those in Yant. The lower-paid group percentages are not sufficient to apply

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Yant without factual review, particularly where a disparity exists in the higher-paid
categories.2

                                      CONCLUSION

       Plaintiffs allege (1) that the VA pays different wages to distinct groups for equal
work; (2) that the groups comprise predominantly one gender; and (3) that the work
requires equal skill, effort, and responsibility, performed under similar working
conditions. These allegations establish a prima facie Equal Pay Act claim.

       Defendant’s motion to dismiss on jurisdictional grounds and for summary
judgment is DENIED. Counsel will advise the court no later than September 14 whether
they will conduct discovery leading to trial on the merits. If the parties wish to resolve
this matter without further litigation, they may contact the court at any time for assistance.




                                                   s/ Robert H. Hodges, Jr.
                                                   Robert H. Hodges, Jr.
                                                  Judge




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        For example, the parties disagree on the number of men and women in the groups of
physician assistants and nurse practitioners in the groups involved. Plaintiffs submitted
employment figures as of August 3, 2007, asserting that four of the twenty-three lower-paid
physician assistants were female (17.4%), and nineteen were male (82.6%) . Twenty-two of the
higher-paid nurse practitioners were female (91.7%), and two were male (8.3%). Defendant
submitted yearly figures from 2004 through 2008 and calculated the average percentage of
women and men in each group. During December 2008, six of twenty-seven physician assistants
were female (22.2%) and three of thirty nurse practitioners were male (10%).


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